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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header" data-refglobal="case:peopleofthestateofcoloradovfurnessno24sa2552025co16april14,2025"&gt;&lt;p class="ldml-metadata"&gt;
 1
 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;2025 CO 16&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;The People of the State of Colorado&lt;/span&gt;, &lt;span class="ldml-role"&gt;Plaintiff&lt;/span&gt;-&lt;span class="ldml-role"&gt;Appellant&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Sheron Mario Furness&lt;/span&gt;, &lt;span class="ldml-role"&gt;Defendant&lt;/span&gt;-&lt;span class="ldml-role"&gt;Appellee&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 24SA255&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;April 14, 2025&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;p data-paragraph-id="187" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="187" data-sentence-id="200" class="ldml-sentence"&gt;Interlocutory Appeal from &lt;span class="ldml-entity"&gt;the District Court Arapahoe County
 District Court&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_200" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;Case No. 22CR1975&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;Honorable LaQunya L. Baker&lt;/span&gt;,
 Judge&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="330" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="330" data-sentence-id="341" class="ldml-sentence"&gt;Order
 Reversed&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-counsel header ldml-header content__heading content__heading--depth1" data-content-heading-label="Counsel"&gt;&lt;p data-paragraph-id="357" class="ldml-paragraph no-indent mt-2"&gt;

 &lt;span data-paragraph-id="357" data-sentence-id="370" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Plaintiff&lt;/span&gt;&lt;/span&gt;-&lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Appellant&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;John Kellner&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;District
 Attorney&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Eighteenth Judicial District&lt;/span&gt; &lt;span class="ldml-entity"&gt;Laura Wood&lt;/span&gt;, &lt;span class="ldml-role"&gt;Deputy
 District Attorney&lt;/span&gt; Centennial, Colorado&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="527" class="ldml-paragraph no-indent mt-2"&gt;

 &lt;span data-paragraph-id="527" data-sentence-id="540" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Defendant&lt;/span&gt;&lt;/span&gt;-&lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Appellee&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Megan A. Ring&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Public
 Defender&lt;/span&gt; &lt;span class="ldml-entity"&gt;Regina Fountain&lt;/span&gt;, Deputy &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt; &lt;span class="ldml-entity"&gt;Kevin
 Herndon&lt;/span&gt;, Deputy &lt;span class="ldml-entity"&gt;Public Defender&lt;/span&gt; Centennial, Colorado&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="2" data-page_type="bare_number" data-id="pagenumber_706"&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="706" class="ldml-paragraph "&gt;

 &lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="706" data-sentence-id="719" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;BERKENKOTTER&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;delivered &lt;span class="ldml-entity"&gt;the Opinion of &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, in
 which CHIEF JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;MÁRQUEZ&lt;/span&gt;&lt;/span&gt;, JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;BOATRIGHT&lt;/span&gt;&lt;/span&gt;,
 JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;HOOD&lt;/span&gt;&lt;/span&gt;, JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;GABRIEL&lt;/span&gt;&lt;/span&gt;, JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;HART&lt;/span&gt;&lt;/span&gt;, and JUSTICE
 &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;SAMOUR&lt;/span&gt;&lt;/span&gt; joined&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="3" data-page_type="bare_number" data-id="pagenumber_902"&gt;&lt;/span&gt;&lt;/p&gt;&lt;h2 class="ldml-opinionheading content__heading content__heading--depth1" data-content-heading-label="Opinion (BERKENKOTTER, MÁRQUEZ, BOATRIGHT, HOOD, GABRIEL, HART, SAMOUR)"&gt;&lt;span data-paragraph-id="902" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="902" data-sentence-id="915" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;OPINION&lt;/b&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/h2&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-specifier="" data-value="BERKENKOTTER JUSTICE" data-format="upper_case_lacks_specifier" data-parsed="true" data-content-heading-label="

 BERKENKOTTER JUSTICE
" id="heading_923" data-id="heading_923"&gt;&lt;span data-paragraph-id="923" class="ldml-paragraph "&gt;

 &lt;span data-paragraph-id="923" data-sentence-id="936" class="ldml-sentence"&gt;BERKENKOTTER JUSTICE&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="957" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="957" data-sentence-id="968" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_968" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; bring this interlocutory appeal under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;C.A.R. 4.1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 challenging an order of the &lt;span class="ldml-entity"&gt;Arapahoe County District Court&lt;/span&gt;
 suppressing all evidence found in the trunk of &lt;span class="ldml-entity"&gt;Sheron Mario
 Furness&lt;/span&gt;'s vehicle during a warrantless search.&lt;/span&gt; &lt;span data-paragraph-id="957" data-sentence-id="1201" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The
 district court&lt;/span&gt; determined that the officers who searched the
 trunk of Furness's car did not have probable cause to do
 so.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1330" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="1330" data-sentence-id="1341" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1341" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Because &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude the officers reasonably believed, under
 the totality of the circumstances, that the trunk would
 contain evidence of a crime, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reverse &lt;span class="ldml-entity"&gt;the district
 court&lt;/span&gt;'s order and remand &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; for further proceedings
 consistent with this opinion.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-specifier="I" data-parsed="true" data-ordinal_end="1" data-value="I.
 Facts and Procedural History" data-format="upper_case_roman_numeral" data-ordinal_start="1" data-types="background" data-confidences="very_high" data-content-heading-label="
 I.
Facts and Procedural History
" id="heading_1606" data-id="heading_1606"&gt;&lt;span data-paragraph-id="1606" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="1606" data-sentence-id="1617" class="ldml-sentence"&gt;I.&lt;/span&gt;
&lt;span data-paragraph-id="1606" data-sentence-id="1620" class="ldml-sentence"&gt;Facts and Procedural History&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="1649" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="1649" data-sentence-id="1660" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1660" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Late on the night of &lt;span class="ldml-entity"&gt;August 26, 2022&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Arapahoe County Sheriff
 Deputy Swank&lt;/span&gt; was driving through Centennial, Colorado on a
 routine patrol when &lt;span class="ldml-entity"&gt;he&lt;/span&gt; heard four gunshots.&lt;/span&gt;&lt;span data-paragraph-id="1649" data-sentence-id="1830" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN1" class="ldml-noteanchor" id="note-ref-ftn.FN1"&gt;1&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;He&lt;/span&gt; headed toward
 the sound of the gunshots and found several &lt;span class="ldml-entity"&gt;people&lt;/span&gt; standing
 in front of the Green Tree Hotel &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"the Hotel"&lt;/span&gt;)&lt;/span&gt; who
 reported hearing multiple gunshots come from behind the
 Hotel.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="4" data-page_type="bare_number" data-id="pagenumber_2028"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="2028" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="2028" data-sentence-id="2039" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2039" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶4
 A&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; second officer, Deputy Nolan, arrived on the scene and
 contacted two men who were standing in the parking lot behind
 the Hotel near a dark-colored Lexus sedan.&lt;/span&gt; &lt;span data-paragraph-id="2028" data-sentence-id="2207" class="ldml-sentence"&gt;One of the men,
 who was later identified as Furness, was standing near the
 trunk of the vehicle.&lt;/span&gt; &lt;span data-paragraph-id="2028" data-sentence-id="2306" class="ldml-sentence"&gt;The other man was Furness's friend,
 &lt;span class="ldml-entity"&gt;V.M. Furness&lt;/span&gt; indicated that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had seen a white male in the
 grass-covered area across from the parking lot shoot a gun
 once and leave on foot.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="2488" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="2488" data-sentence-id="2499" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2499" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 After Furness stated that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was looking for his car keys,
 Deputy Nolan commented that the Lexus's front
 passenger's-side car window was open.&lt;/span&gt; &lt;span data-paragraph-id="2488" data-sentence-id="2648" class="ldml-sentence"&gt;Furness responded
 to this observation by repeatedly saying there was no gun in
 the car.&lt;/span&gt; &lt;span data-paragraph-id="2488" data-sentence-id="2738" class="ldml-sentence"&gt;Upon further inspection, Deputy Nolan noticed that
 the driver's-side car window was also completely rolled
 down.&lt;/span&gt; &lt;span data-paragraph-id="2488" data-sentence-id="2853" class="ldml-sentence"&gt;Throughout Deputy Nolan's interaction with Furness
 and V.M., V.M. repeatedly volunteered that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; and Furness had
 been drinking alcohol.&lt;/span&gt; &lt;span data-paragraph-id="2488" data-sentence-id="2991" class="ldml-sentence"&gt;Furness later confirmed that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was at
 the Hotel to get drunk with his friend.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="3071" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="3071" data-sentence-id="3082" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3082" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The officers did not find any shell casings in the
 grass-covered area Furness identified, although &lt;span class="ldml-entity"&gt;they&lt;/span&gt; did find
 car keys there.&lt;/span&gt; &lt;span data-paragraph-id="3071" data-sentence-id="3217" class="ldml-sentence"&gt;A third officer, Sergeant Norris, used the
 key fob to confirm that the keys were paired with the Lexus
 and, after Furness acknowledged that the Lexus was his car,
 Sergeant Norris returned the keys to him.&lt;/span&gt; &lt;span data-paragraph-id="3071" data-sentence-id="3425" class="ldml-sentence"&gt;When Deputy Swank
 asked Furness why his keys were in the grass-

&lt;span class="ldml-pagenumber" data-val="5" data-page_type="bare_number" data-id="pagenumber_3492"&gt;&lt;/span&gt;
 covered area across from the parking lot, Furness responded
 that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; and his friend were drunk and &lt;span class="ldml-quotation quote"&gt;"playing
 around."&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="3612" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="3612" data-sentence-id="3623" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3623" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Shortly after Furness's keys were returned, Deputy Swank
 looked through the Lexus's windows with his flashlight
 and saw what appeared to be a gun case on the backseat and an
 empty bottle of Fireball whiskey on the driver's seat.&lt;/span&gt;
&lt;span data-paragraph-id="3612" data-sentence-id="3859" class="ldml-sentence"&gt;Notably, when Deputy Swank looked into the vehicle with his
 flashlight, the windows of the car were rolled up.&lt;/span&gt; &lt;span data-paragraph-id="3612" data-sentence-id="3971" class="ldml-sentence"&gt;Deputy
 Swank then obtained Furness's name, ran it through the
 computer system, and determined that Furness had a protection
 order prohibiting him from, among other things, possessing or
 consuming alcohol or controlled substances.&lt;/span&gt; &lt;span data-paragraph-id="3612" data-sentence-id="4205" class="ldml-sentence"&gt;The police
 arrested Furness for violation of the protection order based
 on his admitted consumption of alcohol.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="4319" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="4319" data-sentence-id="4330" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4330" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Meanwhile, a fourth officer, Deputy Delarossa, was speaking
 with a witness at the Quality Hotel next door.&lt;/span&gt; &lt;span data-paragraph-id="4319" data-sentence-id="4442" class="ldml-sentence"&gt;The witness
 identified the shooter as a Black male wearing a black shirt
 in a dark Mercedes or Lexus with tinted windows.&lt;/span&gt;
&lt;span data-paragraph-id="4319" data-sentence-id="4566" class="ldml-sentence"&gt;Additionally, the witness said the shooter's first name
 was &lt;span class="ldml-quotation quote"&gt;"Sheron."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="4319" data-sentence-id="4637" class="ldml-sentence"&gt;The witness's description matched
 Furness's first name, physical appearance, his
 vehicle's appearance, and Furness's and the
 vehicle's location.&lt;/span&gt; &lt;span data-paragraph-id="4319" data-sentence-id="4785" class="ldml-sentence"&gt;The witness subsequently participated
 in a show-up identification and positively identified Furness
 as the shooter.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="6" data-page_type="bare_number" data-id="pagenumber_4903"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="4903" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="4903" data-sentence-id="4914" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4914" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 After the witness identified Furness as the shooter, Deputy
 Nolan determined that the officers had probable cause to
 search the vehicle for evidence of the shooting and the
 protection order violations.&lt;/span&gt; &lt;span data-paragraph-id="4903" data-sentence-id="5123" class="ldml-sentence"&gt;Upon opening the driver's
 door, Deputy Nolan found two bags that were later determined
 to contain 12.9 grams of cocaine and 0.8 grams of
 methamphetamine.&lt;/span&gt; &lt;span data-paragraph-id="4903" data-sentence-id="5280" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; then opened the gun case in the backseat,
 which contained an empty magazine.&lt;/span&gt; &lt;span data-paragraph-id="4903" data-sentence-id="5361" class="ldml-sentence"&gt;Next, Deputy Nolan
 searched the trunk of the vehicle, where &lt;span class="ldml-entity"&gt;he&lt;/span&gt; found a Taurus
 9-millimeter handgun, ammunition for the handgun, five
 twenty-dollar &lt;span class="ldml-entity"&gt;bills&lt;/span&gt;, and a scale with white powder residue on
 it.&lt;/span&gt; &lt;span data-paragraph-id="4903" data-sentence-id="5564" class="ldml-sentence"&gt;Deputy Nolan examined the handgun and noted that it had
 eleven out of fifteen rounds in the magazine, with one round
 in the chamber, and that the gun's hammer was cocked
 back.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="5743" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="5743" data-sentence-id="5754" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5754" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Furness was charged with &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; possession with intent to
 manufacture or distribute a controlled substance, &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;
 unlawful possession of a controlled substance, &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; special
 offender, &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; prohibited use of a weapon, &lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt; disorderly
 conduct, &lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt; violation of a protection order, and &lt;span class="ldml-parenthetical"&gt;(7)&lt;/span&gt;
 controlled substance-special offender-deadly weapon.&lt;/span&gt; &lt;span data-paragraph-id="5743" data-sentence-id="6096" class="ldml-sentence"&gt;Furness
 moved to suppress all the evidence found in the trunk,
 arguing that law enforcement lacked probable cause to conduct
 a warrantless search of the trunk.&lt;/span&gt; &lt;span data-paragraph-id="5743" data-sentence-id="6259" class="ldml-sentence"&gt;Specifically, Furness
 contended that, because &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not have access to his locked
 trunk, the officers lacked probable cause to search there.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="7" data-page_type="bare_number" data-id="pagenumber_6403"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="6403" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="6403" data-sentence-id="6414" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6414" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Following a hearing, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; found that law
 enforcement did have probable cause to search the backseat
 and passenger compartment of Furness's car because the
 Fireball whiskey and gun case, which were in plain view, made
 it reasonable for officers to believe there was evidence of
 crimes inside the passenger compartment of his car.&lt;/span&gt; &lt;span data-paragraph-id="6403" data-sentence-id="6767" class="ldml-sentence"&gt;However,
 &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; concluded that law enforcement did not
 have probable cause to search the trunk of Furness's
 vehicle.&lt;/span&gt; &lt;span data-paragraph-id="6403" data-sentence-id="6899" class="ldml-sentence"&gt;Emphasizing the lack of access from the backseat of
 the vehicle to the trunk, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; concluded that
 there was no way an occupant could quickly transfer items,
 such as a gun, from the passenger compartment to the trunk.&lt;/span&gt;
&lt;span data-paragraph-id="6403" data-sentence-id="7133" class="ldml-sentence"&gt;The Lexus was not, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; observed, a hatchback-there was
 no access from the backseat to the trunk.&lt;/span&gt; &lt;span data-paragraph-id="6403" data-sentence-id="7237" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt;
 also determined that neither the level of controlled
 substances found in the vehicle nor the possession of a
 bottle of Fireball whiskey would support an expanded search
 of the trunk.&lt;/span&gt; &lt;span data-paragraph-id="6403" data-sentence-id="7443" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; suppressed all
 the evidence found in the trunk of Furness's vehicle.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="7545" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="7545" data-sentence-id="7556" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7556" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; then filed this interlocutory appeal.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-specifier="II" data-parsed="true" data-ordinal_end="2" data-value="II.
 Analysis" data-format="upper_case_roman_numeral" data-ordinal_start="2" data-types="analysis" data-confidences="very_high" data-content-heading-label="
 II.
Analysis
" id="heading_7609" data-id="heading_7609"&gt;&lt;span data-paragraph-id="7609" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="7609" data-sentence-id="7620" class="ldml-sentence"&gt;II.&lt;/span&gt;
&lt;span data-paragraph-id="7609" data-sentence-id="7624" class="ldml-sentence"&gt;Analysis&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="7633" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="7633" data-sentence-id="7644" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7644" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;We&lt;/span&gt; begin by addressing the basis for our jurisdiction and the
 appropriate standard of review.&lt;/span&gt; &lt;span data-paragraph-id="7633" data-sentence-id="7743" class="ldml-sentence"&gt;Next, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; discuss the
 automobile exception to the warrant requirement, which
 permits the warrantless search of a vehicle when, based on
 the totality of the circumstances, there is probable cause to
 believe that the vehicle

&lt;span class="ldml-pagenumber" data-val="8" data-page_type="bare_number" data-id="pagenumber_7971"&gt;&lt;/span&gt;
 contains evidence of a crime.&lt;/span&gt; &lt;span data-paragraph-id="7633" data-sentence-id="8003" class="ldml-sentence"&gt;Then, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; apply these principles
 to the record before &lt;span class="ldml-entity"&gt;us&lt;/span&gt; and hold that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;
 erred in finding that the officers lacked probable cause to
 search the trunk of Furness's car.&lt;/span&gt; &lt;span data-paragraph-id="7633" data-sentence-id="8190" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt;
 reverse &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s order suppressing the evidence found
 in the trunk.&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-specifier="A" data-parsed="true" data-ordinal_end="1" data-value="A.
 Jurisdiction and Standard of Review" data-format="upper_case_letters" data-ordinal_start="1" data-types="jurisdiction,standardofreview" data-confidences="very_high,very_high" data-content-heading-label="
 A.
Jurisdiction and Standard of Review
" id="heading_8279" data-id="heading_8279"&gt;&lt;span data-paragraph-id="8279" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="8279" data-sentence-id="8290" class="ldml-sentence"&gt;A.&lt;/span&gt;
&lt;span data-paragraph-id="8279" data-sentence-id="8293" class="ldml-sentence"&gt;Jurisdiction and Standard of Review&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="8329" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="8329" data-sentence-id="8340" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;¶14
 Section 16-12-102&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2024&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;C.A.R. 4.1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; allow &lt;span class="ldml-entity"&gt;the
 prosecution&lt;/span&gt; to file an interlocutory appeal with &lt;span class="ldml-entity"&gt;this court&lt;/span&gt;
 to seek relief from &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;a district court&lt;/span&gt;'s ruling&lt;/span&gt; granting &lt;span class="ldml-entity"&gt;a
 defendant&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;pretrial motion to suppress evidence&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="8329" data-sentence-id="8577" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The
 prosecution&lt;/span&gt; may do so only if it certifies to the judge who
 issued the order and to our &lt;span class="ldml-entity"&gt;court&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"that the appeal is
 not taken for the purposes of delay and the evidence is a
 substantial part of the proof of the charge pending against
 &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="8329" data-sentence-id="8834" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8577" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;§ 16-12-102&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;&lt;em class="ldml-emphasis"&gt;accord&lt;/em&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8577" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;C.A.R. 4.1&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peoplevbrown,2022co11" data-prop-ids="sentence_8577" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Brown&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2022 CO 11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8577" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/907372664" data-vids="907372664" class="ldml-reference" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;504 P.3d 970, 974-75&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="8329" data-sentence-id="8939" class="ldml-sentence"&gt;Based on our review of the
 record, &lt;span class="ldml-entity"&gt;the prosecution&lt;/span&gt; fulfilled this requirement;
 therefore, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have jurisdiction over this interlocutory
 appeal.&lt;/span&gt;&lt;span data-paragraph-id="8329" data-sentence-id="9084" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ftn.FN2" class="ldml-noteanchor" id="note-ref-ftn.FN2"&gt;2&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt;&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;¶15 A&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; district court&lt;/span&gt;'s suppression
 order presents a mixed question of law and fact.&lt;/span&gt; &lt;span data-paragraph-id="8329" data-sentence-id="9171" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peoplevchavez-barragan,2016co16" data-prop-ids="sentence_9084" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People
 v. Chavez-Barragan&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2016 CO 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9084" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887072670" data-vids="887072670" class="ldml-reference" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;365 P.3d 981,
 983&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="8329" data-sentence-id="9236" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; therefore accept and defer to &lt;span class="ldml-entity"&gt;a district court&lt;/span&gt;'s
 findings of fact so long as those facts are

&lt;span class="ldml-pagenumber" data-val="9" data-page_type="bare_number" data-id="pagenumber_9335"&gt;&lt;/span&gt;
 supported by competent evidence in the record.&lt;/span&gt; &lt;span data-paragraph-id="8329" data-sentence-id="9384" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887072670" data-vids="887072670" class="ldml-reference" data-prop-ids="sentence_9236" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="8329" data-sentence-id="9388" class="ldml-sentence"&gt;However, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; review &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s conclusions&lt;/span&gt; of
 law de novo.&lt;/span&gt; &lt;span data-paragraph-id="8329" data-sentence-id="9457" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887946182" data-vids="887946182" class="ldml-reference" data-prop-ids="sentence_9388" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Zuniga&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2016 CO 52&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9388" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶
 13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887946182" data-vids="887946182" class="ldml-reference" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;372 P.3d 1052, 1056&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-format="upper_case_letters" data-parsed="true" data-ordinal_end="2" data-value="B. The
 Automobile Exception" data-ordinal_start="2" data-specifier="B" data-content-heading-label="
 B. The
 Automobile Exception
" id="heading_9515" data-id="heading_9515"&gt;&lt;span data-paragraph-id="9515" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="9515" data-sentence-id="9526" class="ldml-sentence"&gt;B.&lt;/span&gt; &lt;span data-paragraph-id="9515" data-sentence-id="9529" class="ldml-sentence"&gt;The
 Automobile Exception&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="9555" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="9555" data-sentence-id="9566" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9566" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Under both the United States and Colorado Constitutions,
 &lt;span class="ldml-entity"&gt;people&lt;/span&gt; have the right to be free from unreasonable searches
 and seizures.&lt;/span&gt; &lt;span data-paragraph-id="9555" data-sentence-id="9704" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9566" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;U.S. Const. amend. IV&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9566" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;Colo. Const. art. II,
 § 7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9555" data-sentence-id="9755" class="ldml-sentence"&gt;Warrantless searches &lt;span class="ldml-quotation quote"&gt;"are per se unreasonable
 under the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9755" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;Fourth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;-subject only to a few specifically
 established and well-delineated exceptions."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="9555" data-sentence-id="9910" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:katzvunitedstates,thecourtdiscussedtheaccusedsexpectationofprivacykatz,389us347,352,88sct507,511,19led2d5761967" data-prop-ids="sentence_9755" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Katz v.
 United States&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;389 U.S. 347, 357&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1967&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt;
&lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890995384" data-vids="890995384" class="ldml-reference" data-prop-ids="sentence_9755" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Mendez v. People&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;986 P.2d 275, 279&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1999&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-relatingauthority"&gt;stating&lt;/span&gt; that a warrantless search is unconstitutional
 &lt;span class="ldml-quotation quote"&gt;"unless it is supported by probable cause and is
 justified under one of the narrowly defined exceptions to the
 warrant requirement"&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9555" data-sentence-id="10210" class="ldml-sentence"&gt;If a warrantless search violates
 the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10210" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;Fourth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the &lt;span class="ldml-quotation quote"&gt;"use of the seized evidence
 involve&lt;span class="ldml-parenthetical"&gt;[s]&lt;/span&gt; a &lt;span class="ldml-quotation quote"&gt;'denial of the constitutional rights of the
 accused,'&lt;/span&gt;"&lt;/span&gt; and thus, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-quotation quote"&gt;'the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10210" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;Fourth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 bar&lt;span class="ldml-parenthetical"&gt;[s]&lt;/span&gt; the use of evidence secured through an illegal search
 . . . .'&lt;/span&gt;"&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="9555" data-sentence-id="10474" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:mappvohio,367us643,81sct1684,6led2d1081,1961uslexis812,84alr2d933,86" data-prop-ids="embeddedsentence_10514,sentence_10210" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Mapp v. Ohio&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;367 U.S. 643, 648&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1961&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;first quoting &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:weeksvtheunitedstates,232us383,34sct341,58led652,54lrans834" data-prop-ids="sentence_10210" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Weeks v. United States&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;232
 U.S. 383, 398&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1914&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; and then quoting &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892559076" data-vids="892559076" class="ldml-reference" data-prop-ids="sentence_10210" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Wolf v.
 Colorado&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;338 U.S. 25, 28&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1949&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887946182" data-vids="887946182" class="ldml-reference" data-prop-ids="sentence_10210" data-reftype="citeless"&gt;&lt;span class="ldml-refname"&gt;Zuniga&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/em&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10210" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887946182" data-vids="887946182" class="ldml-reference" data-prop-ids="embeddedsentence_10681" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;372 P.3d at 1057&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;requiring
 suppression of the evidence obtained in an unconstitutional
 search&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="10" data-page_type="bare_number" data-id="pagenumber_10762"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="10762" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="10762" data-sentence-id="10773" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10773" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 One exception to the warrant requirement is the automobile
 exception.&lt;/span&gt; &lt;span data-paragraph-id="10762" data-sentence-id="10849" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; have explained that the automobile exception
 &lt;span class="ldml-quotation quote"&gt;"permits the warrantless search of an automobile if
 there is probable cause to believe that the automobile
 contains evidence of a crime."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="10762" data-sentence-id="11038" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887946182" data-vids="887946182" class="ldml-reference" data-prop-ids="sentence_10849" data-reftype="citeless"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Zuniga&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10849" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶
 12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887946182" data-vids="887946182" class="ldml-reference" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;372 P.3d at 1056&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="10762" data-sentence-id="11071" class="ldml-sentence"&gt;The automobile exception &lt;span class="ldml-quotation quote"&gt;"does not
 have a separate exigency requirement: &lt;span class="ldml-quotation quote"&gt;'If a car is
 readily mobile and probable cause exists to believe it
 contains contraband, the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11071" data-reftype="rule"&gt;&lt;span class="ldml-cite"&gt;Fourth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; . . . permits
 police to search the vehicle without more.'&lt;/span&gt;"&lt;/span&gt;&lt;/span&gt;
&lt;span data-paragraph-id="10762" data-sentence-id="11317" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peoplevallen,2019co88" data-prop-ids="sentence_11071" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Allen&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2019 CO 88&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11071" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 32&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894120673" data-vids="894120673" class="ldml-reference" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;450 P.3d
 724, 731&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(omission in &lt;span class="ldml-referencenote"&gt;original&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:marylandvdyson,527us465,466-67,119sct2013,2014,144led2d4421999percuriam" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Maryland v.
 Dyson&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;527 U.S. 465, 467&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1999&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="11450" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="11450" data-sentence-id="11461" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11461" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 The scope of such a search, however, is not without limits:
 &lt;span class="ldml-quotation quote"&gt;"The scope of a warrantless search of an automobile . .
 . is defined by the object of the search and the places in
 which there is probable cause to believe that it may be
 found."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="11450" data-sentence-id="11709" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891523879" data-vids="891523879" class="ldml-reference" data-prop-ids="sentence_11461" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;California v. Acevedo&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;500 U.S. 565,
 579-80&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887493351" data-vids="887493351" class="ldml-reference" data-prop-ids="sentence_11461" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;United States v. Ross&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;456
 U.S. 798, 824&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1982&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11450" data-sentence-id="11821" class="ldml-sentence"&gt;This means &lt;span class="ldml-quotation quote"&gt;"an individual's
 expectation of privacy in a vehicle,"&lt;/span&gt; including a
 vehicle's trunk or glove compartment, &lt;span class="ldml-quotation quote"&gt;"may not
 survive if probable cause is given to believe that the
 vehicle is transporting contraband."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="11450" data-sentence-id="12042" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887493351" data-vids="887493351" class="ldml-reference" data-prop-ids="sentence_11821" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Ross&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;456
 U.S. at 823&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="12066" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="12066" data-sentence-id="12077" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12077" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-quotation quote"&gt;"If probable cause justifies the search of a lawfully
 stopped vehicle, it justifies the search of &lt;em class="ldml-emphasis"&gt;every part of
 the vehicle and its contents&lt;/em&gt; that may conceal the object
 of the search."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="12066" data-sentence-id="12269" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887493351" data-vids="887493351" class="ldml-reference" data-prop-ids="sentence_12077" data-reftype="ibid"&gt;&lt;span class="ldml-cite"&gt;&lt;em class="ldml-emphasis"&gt;Id.&lt;/em&gt; at 825&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;
&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891523879" data-vids="891523879" class="ldml-reference" data-prop-ids="sentence_12077" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Acevedo&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;500 U.S. at 580&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="11" data-page_type="bare_number" data-id="pagenumber_12332"&gt;&lt;/span&gt;
&lt;span class="ldml-parenthetical"&gt;(upholding the warrantless search of a bag in a vehicle's
 trunk because &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he police may search an automobile and
 the containers within it where &lt;span class="ldml-entity"&gt;they&lt;/span&gt; have probable cause to
 believe contraband or evidence is contained"&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893696256" data-vids="893696256" class="ldml-reference" data-prop-ids="sentence_12077" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Cox&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2017 CO 8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12077" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/893696256" data-vids="893696256" class="ldml-reference" data-prop-ids="embeddedsentence_12609" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;401 P.3d 509,
 512&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;concluding that &lt;span class="ldml-quotation quote"&gt;"under the totality of the
 circumstances, &lt;span class="ldml-parenthetical"&gt;[the officer]&lt;/span&gt; had probable cause to search the
 vehicle's trunk"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892820761" data-vids="892820761" class="ldml-reference" data-prop-ids="embeddedsentence_12787" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Haggart&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;533
 P.2d 488, 490&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1975&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;noting&lt;/span&gt; that, because there was
 probable cause, the warrantless search of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s
 trunk fell under one of the &lt;span class="ldml-quotation quote"&gt;"specifically established
 and well-delineated exceptions"&lt;/span&gt; to the warrant
 requirement&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="12995" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="12995" data-sentence-id="13006" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13006" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Thus, law enforcement officers may conduct a warrantless
 search of a specific location within a vehicle only when &lt;span class="ldml-entity"&gt;they&lt;/span&gt;
 have probable cause to believe &lt;em class="ldml-emphasis"&gt;that&lt;/em&gt; location may
 contain evidence of a crime and the object of the search.&lt;/span&gt;
&lt;span data-paragraph-id="12995" data-sentence-id="13240" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;They&lt;/span&gt; cannot broaden the search, for example, from the
 passenger compartment to the trunk, without probable cause to
 believe that the trunk also contains evidence of a crime and
 the object of the search.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="13446" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="13446" data-sentence-id="13457" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13457" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-quotation quote"&gt;"A police officer has probable cause to conduct a search
 when the facts available to him would warrant a person of
 reasonable caution in the belief that contraband or evidence
 of a crime is present."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="13446" data-sentence-id="13664" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:peoplevbailey,2018co84" data-prop-ids="sentence_13457" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;People v. Bailey&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2018
 CO 84&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13457" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887438032" data-vids="887438032" class="ldml-reference" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;427 P.3d 821, 827&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894893943" data-vids="894893943" class="ldml-reference" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Florida v.
 Harris&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;568 U.S. 237, 243&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2013&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="13446" data-sentence-id="13775" class="ldml-sentence"&gt;In evaluating
 &lt;span class="ldml-quotation quote"&gt;"this practical and common-sensical standard,"&lt;/span&gt;
&lt;span class="ldml-entity"&gt;courts&lt;/span&gt; have &lt;span class="ldml-quotation quote"&gt;"rejected rigid rules,

&lt;span class="ldml-pagenumber" data-val="12" data-page_type="bare_number" data-id="pagenumber_13874"&gt;&lt;/span&gt;
 bright-line tests, and mechanistic inquiries"&lt;/span&gt; in favor
 of &lt;span class="ldml-quotation quote"&gt;"consistently look&lt;span class="ldml-parenthetical"&gt;[ing]&lt;/span&gt; to the totality of the
 circumstances."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="13446" data-sentence-id="13999" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894893943" data-vids="894893943" class="ldml-reference" data-prop-ids="sentence_13775" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Harris&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;568 U.S. at 244&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;
&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890995384" data-vids="890995384" class="ldml-reference" data-prop-ids="embeddedsentence_14058,sentence_13775" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Mendez&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;986 P.2d at 280&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;explaining&lt;/span&gt; that
 the probable cause analysis &lt;span class="ldml-quotation quote"&gt;"requires &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to look at the
 totality of the circumstances"&lt;/span&gt; to &lt;span class="ldml-quotation quote"&gt;"make a
 practical, common sense decision whether a fair probability
 exists that a search of a particular place will reveal
 contraband or evidence of a crime"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="14329" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="14329" data-sentence-id="14340" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14340" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 However, probable cause need not be considered in a vacuum.&lt;/span&gt;
&lt;span data-paragraph-id="14329" data-sentence-id="14405" class="ldml-sentence"&gt;Instead, &lt;span class="ldml-quotation quote"&gt;"probable cause is a fluid concept-turning on
 the assessment of probabilities in particular factual
 contexts-not readily, or even usefully, reduced to a neat set
 of legal rules."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="14329" data-sentence-id="14596" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:illinoisvgates,462us213,236,103sct2317,2331,76led2d5271983103sct2317,2331,76led2d5271983" data-prop-ids="sentence_14405" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Illinois v. Gates&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;462 U.S.
 213, 232&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1983&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892507772" data-vids="892507772" class="ldml-reference" data-prop-ids="embeddedsentence_14703,sentence_14405" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Maryland v. Pringle&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;540
 U.S. 366, 372 n.2&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2003&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;noting&lt;/span&gt; that the &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s
 consideration of &lt;span class="ldml-parenthetical"&gt;[one fact]&lt;/span&gt; in isolation, rather than as a
 factor in the totality of the circumstances, is mistaken in
 light of our precedents"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889431568" data-vids="889431568" class="ldml-reference" data-prop-ids="sentence_14405" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Grassi v. People&lt;/em&gt;&lt;/span&gt;,
 &lt;span class="ldml-cite"&gt;2014 CO 12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14405" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:320p3d332,338" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;320 P.3d 332, 338&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(same)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="14940" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="14940" data-sentence-id="14951" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14951" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Lastly, &lt;span class="ldml-quotation quote"&gt;"probable cause does not demand . . .
 certainty."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="14940" data-sentence-id="15015" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:illinoisvgates,462us213,236,103sct2317,2331,76led2d5271983103sct2317,2331,76led2d5271983" data-prop-ids="sentence_14951" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Gates&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;462 U.S. at 246&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see
 also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890995384" data-vids="890995384" class="ldml-reference" data-prop-ids="sentence_14951" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Mendez&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;986 P.2d at 280&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="14940" data-sentence-id="15074" class="ldml-sentence"&gt;Rather, &lt;span class="ldml-quotation quote"&gt;"probable
 cause &lt;span class="ldml-parenthetical"&gt;[analyses]&lt;/span&gt; . . . deal with probabilities . . .; &lt;span class="ldml-entity"&gt;they&lt;/span&gt;
 are the factual and practical considerations of everyday life
 on which reasonable and prudent men, not legal technicians,
 act."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="14940" data-sentence-id="15283" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888948969" data-vids="888948969" class="ldml-reference" data-prop-ids="sentence_15283" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Brinegar v. United States&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;338 U.S. 160,
 175&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1949&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890995384" data-vids="890995384" class="ldml-reference" data-prop-ids="sentence_15283" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Mendez&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;986 P.2d at
 280&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;em class="ldml-emphasis"&gt;.&lt;/em&gt;
&lt;span class="ldml-pagenumber" data-val="13" data-page_type="bare_number" data-id="pagenumber_15372"&gt;&lt;/span&gt;
 &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15283" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Bearing these principles in mind, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; turn next to examine the
 facts in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; to determine whether &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;
 erred in concluding that law enforcement officers lacked
 probable cause to search the trunk of Furness's vehicle.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-format="upper_case_letters" data-parsed="true" data-ordinal_end="3" data-value="C.
 Probable Cause
to Search
the Vehicle's
Trunk" data-ordinal_start="3" data-specifier="C" data-content-heading-label="
 C.
Probable Cause
to Search
the Vehicle's
Trunk
" id="heading_15626" data-id="heading_15626"&gt;&lt;span data-paragraph-id="15626" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="15626" data-sentence-id="15637" class="ldml-sentence"&gt;C.&lt;/span&gt;
&lt;span data-paragraph-id="15626" data-sentence-id="15640" class="ldml-sentence"&gt;&lt;b class="ldml-bold"&gt;Probable&lt;/b&gt; &lt;b class="ldml-bold"&gt;Cause&lt;/b&gt;
&lt;b class="ldml-bold"&gt;to&lt;/b&gt; &lt;b class="ldml-bold"&gt;Search&lt;/b&gt;
&lt;b class="ldml-bold"&gt;the&lt;/b&gt; &lt;b class="ldml-bold"&gt;Vehicle's&lt;/b&gt;
&lt;b class="ldml-bold"&gt;Trunk&lt;/b&gt;&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="15685" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="15685" data-sentence-id="15696" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15696" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; contend that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; erred by focusing
 only on whether the trunk was readily accessible from the
 passenger compartment of the car.&lt;/span&gt; &lt;span data-paragraph-id="15685" data-sentence-id="15855" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;They&lt;/span&gt; argue that by doing
 so, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; failed to consider the evidence
 supporting the inference that Furness was able to access the
 trunk from the outside of the vehicle.&lt;/span&gt; &lt;span data-paragraph-id="15685" data-sentence-id="16038" class="ldml-sentence"&gt;Furness counters that
 the vehicle was locked and the keys were not in his
 possession when law enforcement arrived, so it would be
 illogical to assume that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had any access to the trunk after
 the shooting.&lt;/span&gt; &lt;span data-paragraph-id="15685" data-sentence-id="16248" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; agree with &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="16274" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="16274" data-sentence-id="16285" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16285" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt;'s ruling&lt;/span&gt; is premised on the notion
 that Furness could not have hidden a gun in the trunk after
 the shots were fired because &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not have access to the
 trunk.&lt;/span&gt; &lt;span data-paragraph-id="16274" data-sentence-id="16472" class="ldml-sentence"&gt;Based on our review of the record, that premise is
 unfounded.&lt;/span&gt; &lt;span data-paragraph-id="16274" data-sentence-id="16535" class="ldml-sentence"&gt;There is no evidence in the record that the
 vehicle, including the trunk, was locked before, during, or
 immediately after the shooting.&lt;/span&gt; &lt;span data-paragraph-id="16274" data-sentence-id="16673" class="ldml-sentence"&gt;Moreover, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; know that when
 Deputy Nolan initially arrived on the scene, Furness was
 standing next to the trunk, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not have his keys, and
 both the driver's-side and passenger's-side windows
 of Furness's vehicle were rolled &lt;em class="ldml-emphasis"&gt;down&lt;/em&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16274" data-sentence-id="16911" class="ldml-sentence"&gt;Thus, it
 was reasonable for the

&lt;span class="ldml-pagenumber" data-val="14" data-page_type="bare_number" data-id="pagenumber_16946"&gt;&lt;/span&gt;
 officers to believe that the car was unlocked and that
 Furness could have opened the trunk and hidden a gun before
 &lt;span class="ldml-entity"&gt;they&lt;/span&gt; arrived.&lt;/span&gt; &lt;span data-paragraph-id="16274" data-sentence-id="17079" class="ldml-sentence"&gt;But, more importantly, even if the car was
 locked, it was reasonable for the officers to believe that
 Furness could have reached into the Lexus through one of the
 open windows, unlocked the vehicle, and placed a gun inside
 the trunk before &lt;span class="ldml-entity"&gt;they&lt;/span&gt; arrived.&lt;/span&gt; &lt;span data-paragraph-id="16274" data-sentence-id="17337" class="ldml-sentence"&gt;That is, whether the vehicle
 was locked or unlocked, Furness had easy access to the trunk
 before the officers arrived.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="17458" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="17458" data-sentence-id="17469" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17469" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 To be sure, when Deputy Swank looked inside the Lexus with a
 flashlight not long thereafter and saw the gun case, the
 car's windows were rolled &lt;em class="ldml-emphasis"&gt;up&lt;/em&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17458" data-sentence-id="17624" class="ldml-sentence"&gt;But this happened
 after Sergeant Norris found Furness's keys and returned
 them to him.&lt;/span&gt; &lt;span data-paragraph-id="17458" data-sentence-id="17713" class="ldml-sentence"&gt;And, notably, for purposes of analyzing probable
 cause, the fact that someone-whoever that might have
 been-rolled the windows up does not negate the reasonable
 inferences that flow from the fact that the car's windows
 were rolled down and Furness was standing near the trunk when
 the officers first arrived.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="18026" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="18026" data-sentence-id="18037" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18037" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that under the totality of the
 circumstances, it was reasonable for the officers to believe
 that there was a gun in the trunk.&lt;/span&gt; &lt;span data-paragraph-id="18026" data-sentence-id="18196" class="ldml-sentence"&gt;As noted, the test for
 probable cause &lt;span class="ldml-quotation quote"&gt;"does not lend itself to mathematical
 certainties,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890995384" data-vids="890995384" class="ldml-reference" data-prop-ids="sentence_18196" data-reftype="reporter"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Mendez&lt;/em&gt;&lt;/span&gt;, &lt;span class="ldml-cite"&gt;986 P.2d at 280&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and
 instead calls for &lt;span class="ldml-quotation quote"&gt;"consideration of any and all facts
 that a reasonable person would consider relevant to a police
 officer's belief that

&lt;span class="ldml-pagenumber" data-val="15" data-page_type="bare_number" data-id="pagenumber_18459"&gt;&lt;/span&gt;
 contraband or evidence of a crime is present,"&lt;/span&gt;
&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887946182" data-vids="887946182" class="ldml-reference" data-prop-ids="sentence_18196" data-reftype="citeless"&gt;&lt;span class="ldml-refname"&gt;&lt;em class="ldml-emphasis"&gt;Zuniga&lt;/em&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18196" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887946182" data-vids="887946182" class="ldml-reference" data-prop-ids="sentence_18196" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;372 P.3d at 1057&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18026" data-sentence-id="18540" class="ldml-sentence"&gt;Here, the
 relevant facts include:&lt;/span&gt;
&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;blockquote data-paragraph-id="b_18575" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="18576" class="ldml-sentence"&gt;• Furness was at the scene of the shooting.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_18620" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="18621" class="ldml-sentence"&gt;• When the officers arrived, Furness was standing near
 the trunk of his vehicle, complaining that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; could not find
 his car keys.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_18753" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="18754" class="ldml-sentence"&gt;• Furness's keys were found in the grass-covered
 area behind the Hotel in the same location Furness said &lt;span class="ldml-entity"&gt;he&lt;/span&gt;
 saw the shooter.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_18881" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="18882" class="ldml-sentence"&gt;• Furness repeatedly told officers there was no gun in
 his car.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_18947" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="18948" class="ldml-sentence"&gt;• Officers observed an empty gun case in Furness's
 vehicle.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_19009" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="19010" class="ldml-sentence"&gt;• There was no evidence that the car was locked.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_19059" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="19060" class="ldml-sentence"&gt;• Even if the car was locked, the front windows were
 both rolled down when the deputies first contacted Furness,
 meaning &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had the ability to unlock the car and place the
 gun in the trunk.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_19253" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="19254" class="ldml-sentence"&gt;• A witness identified Furness as the shooter.&lt;/span&gt;
&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_19301" class="ldml-blockquote"&gt;
&lt;span data-sentence-id="19302" class="ldml-sentence"&gt;• The gun was not located anywhere else.&lt;/span&gt;
&lt;/blockquote&gt;&lt;/div&gt;&lt;p data-paragraph-id="19343" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="19343" data-sentence-id="19354" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19354" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶29&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
&lt;span class="ldml-entity"&gt;These facts&lt;/span&gt;, taken in combination, support the conclusion
 that the officers had probable cause to search the
 Lexus's trunk for the gun used in the shooting.&lt;/span&gt; &lt;span data-paragraph-id="19343" data-sentence-id="19517" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The
 district court&lt;/span&gt; erred in assuming that Furness could only have
 accessed the trunk from inside of the vehicle.&lt;/span&gt; &lt;span data-paragraph-id="19343" data-sentence-id="19632" class="ldml-sentence"&gt;As explained
 above, under &lt;span class="ldml-entity"&gt;these circumstances&lt;/span&gt;, it was reasonable for the
 officers to infer that Furness had access to the trunk from
 outside of the car.&lt;/span&gt; &lt;span data-paragraph-id="19343" data-sentence-id="19788" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; therefore erred in
 suppressing the evidence obtained from that search.&lt;/span&gt;
&lt;span class="ldml-pagenumber" data-val="16" data-page_type="bare_number" data-id="pagenumber_19879"&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-specifier="III" data-parsed="true" data-ordinal_end="3" data-value="III.
 Conclusion" data-format="upper_case_roman_numeral" data-ordinal_start="3" data-types="conclusion" data-confidences="very_high" data-content-heading-label="
 III.
Conclusion
" id="heading_19879" data-id="heading_19879"&gt;&lt;span data-paragraph-id="19879" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="19879" data-sentence-id="19890" class="ldml-sentence"&gt;III.&lt;/span&gt;
&lt;span data-paragraph-id="19879" data-sentence-id="19895" class="ldml-sentence"&gt;Conclusion&lt;/span&gt;
&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="19906" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="19906" data-sentence-id="19917" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19917" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;
 Because law enforcement officers had probable cause to
 conduct a warrantless search of the trunk of Furness's
 vehicle, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reverse &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s suppression
 order and remand &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; for further proceedings consistent
 with this opinion.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="20169" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="20169" data-sentence-id="20170" class="ldml-sentence"&gt;---------&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-notes content__heading content__heading--depth1" data-content-heading-label="Footnotes"&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="20180" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="20180" data-sentence-id="20181" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN1" class="ldml-notemarker" id="note-ftn.FN1"&gt;1&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; derive the facts from our review of
 the transcripts of the officers' testimony at the
 suppression hearing, as well as footage from three of the
 officers' body-worn cameras.&lt;/span&gt; &lt;span data-paragraph-id="20180" data-sentence-id="20363" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/em&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887775332" data-vids="887775332" class="ldml-reference" data-prop-ids="sentence_20181" data-reftype="reporter"&gt;&lt;em class="ldml-emphasis"&gt;&lt;span class="ldml-refname"&gt;People v.
 Kutlak&lt;/span&gt;,&lt;/em&gt; &lt;span class="ldml-cite"&gt;2016 CO 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20181" data-reftype="section"&gt;&lt;span class="ldml-cite"&gt;¶ 13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887775332" data-vids="887775332" class="ldml-reference" data-prop-ids="embeddedsentence_20422" data-reftype="reporter"&gt;&lt;span class="ldml-cite"&gt;364 P.3d 199, 203&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;noting&lt;/span&gt;
 that when there is an audio-visual record and there are no
 disputed facts outside the recording controlling the
 suppression issue, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; sit in a similar position as &lt;span class="ldml-entity"&gt;the
 district court&lt;/span&gt; and, therefore, may independently review the
 recording&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="20673" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="20673" data-sentence-id="20674" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;&lt;sup class="ldml-superscript"&gt;[&lt;a href="#note-ref-ftn.FN2" class="ldml-notemarker" id="note-ftn.FN2"&gt;2&lt;/a&gt;]&lt;/sup&gt;&lt;/span&gt; Pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-reftype="unspecified"&gt;&lt;span class="ldml-cite"&gt;C.A.R. 4.1&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;
 certify that this appeal &lt;span class="ldml-quotation quote"&gt;"is not taken for the purpose
 of delay"&lt;/span&gt; and that the suppressed evidence constitutes
 &lt;span class="ldml-quotation quote"&gt;"a substantial part of the proof of the charge pending
 against &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;"&lt;/span&gt; by establishing ownership of the
 firearm.&lt;/span&gt; &lt;span data-paragraph-id="20673" data-sentence-id="20950" class="ldml-sentence"&gt;Furness does not object to this
 certification.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;p data-paragraph-id="20998" class="ldml-paragraph "&gt;
&lt;span data-paragraph-id="20998" data-sentence-id="20999" class="ldml-sentence"&gt;---------&lt;/span&gt;
&lt;/p&gt;
&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;